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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

CASTLE MORTGAGE COMPANY,                  §
INC.,                                     §
                                          §
        Plaintiff,                        §
                                          §     No. 3:21-cv-3172-M-BN
V.                                        §
                                          §
THE BANK OF NEW YORK MELLON               §
TRUST COMPANY, NATIONAL                   §
ASSOCIATION FKA THE BANK OF               §
NEW YORK TRUST COMPANY, N.A.              §
AS SUCCESSOR TO JPMORGAN                  §
CHASE BANK, N.A. AS TRUSTEE               §
FOR RESIDEDNTIAL ASSET                    §
MORTGAGE PRODUCTS, INC.,                  §
MORTGAGE ASSET-BACKED PASS                §
THROUGH CERTIFICATES SERIES               §
2005-RP2 C/O PHH MORTGAGE                 §
CORPORATION,                              §
                                          §
             Defendants.                  §


                     MEMORANDUM OPINION AND ORDER

      This case has been referred to the undersigned United States magistrate

judge for pretrial management under 28 U.S.C. § 636(b) and a standing order of

reference from Chief Judge Barbara M. G. Lynn. See Dkt. No. 6.

      Pending before the Court is an Unopposed Motion to Reinstate Case on

Active Docket, see Dkt. No. 9, filed by Defendant the Bank of New York Mellon

Trust Company, National Association FKA the Bank of New York Trust Company,

N.A. as Successor to JPMorgan Chase Bank, N.A., as Trustee for Residential Asset

Mortgage Products, Inc., Mortgage Asset-Backed Pass Through Certificates Series
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2005-RP2 c/o PHH Mortgage Corporation.

     The Court, having considered the Motion and the evidence presented, finds

that the Motion should be GRANTED. Accordingly,

     It is ORDERED this case be reinstated to the Court’s active docket.



     DATED: April 12, 2022




                                     __________________________________________
                                     DAVID L. HORAN
                                     UNITED STATES MAGISTRATE JUDGE
